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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  COMMON CAUSE INDIANA,                     )
                                            )
                    Plaintiff,              )
                                            )
               v.                           ) Case Nos.: 1:17-cv-03936-TWP-MPB
                                            )
  CONNIE LAWSON, in her official            )
  capacity as Secretary of State of         )
  Indiana, J. BRADLEY KING, in his          )
  official capacity as Co-Director of the   )
  Indiana Election Division, and            )
  ANGELA M. NUSSMEYER, in her               )
  official capacity as Co-Director of the   )
  Indiana Election Division,                )
                                            )
                        Defendants.         )


                                 MOTION TO DISMISS

        Defendants Secretary of State Connie Lawson, and the Indiana Election

  Division Co-Directors, J. Bradley King and Angela M. Nussmeyer, in their official

  capacities, move to dismiss this case because it is moot.

        Common Cause Indiana brought this lawsuit to challenge Indiana’s use of

  information gathered through the Crosscheck system under Senate Enrolled Act

  442. But the Indiana General Assembly amended that law in 2020 through SEA

  334. Consequently, the case is moot, presents no case or controversy, and should be

  dismissed under Federal Rule of Civil Procedure 12(b)(1).




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        For this reason and those described in the accompanying brief in support of

  this motion, the defendants respectfully request that the Court grant this motion

  and dismiss all claims against them.

                                         Respectfully submitted,

                                         OFFICE OF THE INDIANA ATTORNEY GENERAL

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